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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, et al.                     )
                                           )
                        Plaintiffs         )
      v.                                   )   No. 6:23-cv-00007
                                          )
DEPARTMENT OF HOMELAND                    )
SECURTY, et al.                            )
                                          )
                        Defendants.       )
__________________________________________)

                  NOTICE OF FILING OF ADMINISTRATIVE RECORD

       Defendants hereby provide notice that they are filing the administrative record for

Implementation of a Parole Process for Haitians, 88 Fed. Reg. 1,243 (Jan. 9, 2023). With this

notice, Defendants also attach (1) the certification of each administrative record in this action; and

(2) the index of the contents of each administrative record; and (3) the administrative record for

the Haitian Parole Process. See Attachments.

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Dated: March 24, 2023               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2023, I electronically filed this brief with the Clerk of

the Court for the United States District Court for the Southern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                             /s/ Erez Reuveni
                                             EREZ REUVENI
                                             U.S. Department of Justice




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